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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                            )
                                                    )
               v.                                   )          No. 1:22-CR-104 (RJL)
                                                    )
KLETE KELLER,                                       )
                                                    )
                         Defendant.                 )

                    JOINT MOTION TO CONTINUE STATUS HEARING

       The parties jointly move to continue the status hearing currently scheduled for June 16,

2022, at 4:00 p.m., and to schedule a status hearing in at least 90 days. Alternatively, the parties

are available next week to appear for a status hearing before the Court.

       Defense counsel has encountered a family emergency that will prevent him from being

available for the status hearing on June 16, 2022. At that status hearing, the parties were prepared

to report to the Court that the defendant continues to cooperate with the government’s investigation

into the criminal events that occurred at the United States Capitol on January 6, 2021.

       As such, the parties request the Court continue to defer sentencing and allow the parties to

file a further status report by some date 90 days out from June 16, 2022, or, in the alternative, to

appear at a rescheduled status hearing next week. The government has conferred with defense

counsel for Mr. Keller, who joins this motion.

                                                        Respectfully submitted,

                                                        MATTHEW M. GRAVES
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                                              By:
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